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                     UNITED STATES DISTRICT COURT
                                    FOR THE
                          DISTRICT OF COLUMBIA


UNITED STATES                                )
      V.                                     ) Case No. 22-cr-166 (MAU)
JOHN GEORGE TODD,                            )
      Defendant.                             )


       Weekly Status Report Regarding Defendant While on Pre-Trial
                                Release



Counsel has communicated with Mr. Todd multiple times since the last hearing as
well as his third-party custodian sister Ms. Revels. Counsel arranged for Mr. Todd’s
transportation to the Kansas City International Airport last week. Travel to South
Carolina occurred without incident. Counsel has also spoken with Mr. Todd
regarding his new conditions in South Carolina and his health status. He is doing
extremely well in the new environment, he has his medications, he is continuing to
proceed with his mental health treatment, he is complying with all pre-trial release
conditions, and he is gainfully employed working at Mr. Revels’ body shop and
performing various other work tasks on the property. Mr. Todd has committed to
inform counsel immediately if any issues arise, and counsel will immediately bring
those to the Court’s attention. Counsel apologizes for filing this report a day late
(this was an oversight driven by trial starting in another January 6th case yesterday
and was not intended to disrespect the Court in any fashion).
Date: May 16, 2023                               Respectfully Submitted,
                                                   /s/ John M. Pierce
                                                  John M. Pierce
                                                  21550 Oxnard Street
                                                  3rd Floor, PMB #172
                                                  Woodland Hills, CA 91367
                                                  Tel: (213) 400-0725
                                                  Email:jpierce@johnpiercelaw.com
                                                  Attorney for Defendant
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                          CERTIFICATE OF SERVICE


I hereby certify that, on May 16, 2023, this motion was filed via the Court’s
electronic filing system, which constitutes service upon all counsel of
record.
                                                  /s/ John M. Pierce
                                                  John M. Pierce
